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PROB 12C                                                                                  Report Date: June 22, 2016
(7/93)

                                       United States District Court                                       FILED IN THE
                                                                                                      U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                                 Jun 22, 2016
                                        Eastern District of Washington                               SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Courtney D. Vaughn                        Case Number: 0980 2:14CR00021-RMP-19
 Address of Offender:                                    Spokane, Washington 99205
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: March 10, 2015
 Original Offense:        Distribution of Oxycodone Hydrochloride, 21 U.S.C. § 841(a)(1)
 Original Sentence:       Prison - 21 months;                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Aine Ahmed                         Date Supervision Commenced: October 16, 2015
 Defense Attorney:        Federal Public Defender            Date Supervision Expires: October 15, 2018


                                          PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On June 18, 2016, the U.S. Probation Office in Spokane received
                        notification that Mr. Vaughn’s name had been run by law enforcement in Coeur d’Alene,
                        Idaho. A police report was requested on the contact, and the undersigned officer learned that,
                        according to the provided reports, Mr. Vaughn was arrested by Coeur d’Alene police for
                        both driving with a suspended license and for drug-trafficking charges.

                        The provided reports, as well as contact with the assigned detective, indicate that on June
                        18, 2016, at approximately 0115 hours Mr. Vaughn was observed driving a yellow Camaro
                        by city police. Mr. Vaughn was contacted by police and subsequently arrested for driving
                        without privileges. The vehicle was subsequently searched as a part of the impound process,
                        at which time a digital scale and a brown colored envelope with a white powdery substance
                        were located. The substance was tested at the scene by law enforcement and the resulting
                        test confirmed that the substance was presumptive positive for cocaine. According to the
                        police report, the amount was determined to be approximately 2 ounces of suspected
                        cocaine.
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                      It should be noted that when questioned by law enforcement at the scene, Mr. Vaughn denied
                      knowledge of the substance being in the vehicle. During the contact with Mr. Vaughn, Mr.
                      Avery Jones and Mr. Taurean Jones were also contacted. Further interviewing of said parties
                      appear to collaborate that all three parties drove over to Coeur d’Alene together. According
                      to police reports, a female later arrived at the scene and indicated that the vehicle belonged
                      to Taurean Jones’ girlfriend. It should be noted that when questioned, Mr. Vaughn did admit
                      to driving the vehicle without a valid license.

                      On June 21, 2016, Mr. Vaughn contacted the undersigned officer by phone and admitted to
                      parking the vehicle without a valid license, but adamantly denied any knowledge of the
                      presence of cocaine in the vehicle. Mr. Vaughn remains in custody at this time on the alleged
                      charges.
          2           Standard Condition # 1: The defendant shall not leave the judicial district without the
                      permission of the court or probation officer.

                      Supporting Evidence: On June 18, 2016, Mr. Vaughn was arrested in Coeur d’Alene,
                      Idaho. Mr. Vaughn had at no time requested permission from the undersigned officer to
                      travel to Idaho, and has been previously informed of his requirement to request approval to
                      travel outside of the Eastern District of Washington. During contact with Mr. Vaughn on
                      June 21, 2016, he admitted to traveling to Coeur d’Alene, Idaho.
          3           Standard Condition # 9: The defendant shall not associate with any persons engaged in
                      criminal activity, and shall not associate with any person convicted of a felony, unless
                      granted permission to do so by the probation officer.

                      Supporting Evidence: On June 18, 2016, Mr. Vaughn was arrested in Coeur d’Alene in the
                      company of both Mr. Taurean Jones and Mr. Avery Jones. Mr. Vaughn admitted to both law
                      enforcement, and eventually to the undersigned officer, that he had traveled to Coeur
                      d’Alene from Spokane with the two identified parties. A criminal records request on both
                      parties indicate that they have significant criminal records.
          4           Special Condition # 18: You shall abstain from alcohol and shall submit to testing
                      (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                      than six tests per month, in order to confirm continued abstinence from this substance.

                      Supporting Evidence: On June 18, 2016, Mr. Vaughn, after being contacted by law
                      enforcement, admitted that he “had a few beers.” Mr. Vaughn also admitted this behavior
                      to the undersigned officer on June 21, 2016, although indicated that he thought he had only
                      had one beer.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     June 22, 2016
                                                                     s/ Chris Heinen
                                                                     Chris Heinen
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [X ]     The Issuance of a Summons
 [ ]      Other

                                                                     Signature of Judicial Officer
                                                                             6/22/2016
                                                                     Date
